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                                                                                           United States Bankruptcy Court
                                                                                               Southern District of Texas

                                                                                                  ENTERED
                      IN THE UNITED STATES BANKRUPTCY COURT                                   November 14, 2022
                        FOR THE SOUTHERN DISTRICT OF TEXAS                                     Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

IN RE:                        §
                              §                               CASE NO: 22-676
ROUNDPOINT MORTGAGE SERVICING §
CORPORATION                   §

            ORDER IMPOSING SANCTIONS FOR FAILURE TO APPEAR
          AGAINST ROUNDPOINT MORTGAGE SERVICING CORPORATION
          AND REQUIRING COMPLIANCE WITH BANKRUPTCY RULE 9036

       On October 10, 2022, the Court issued its Order requiring the above referenced entity to
appear at a status conference on November 14, 2022. Electronic appearance was permitted. On
November 14, 2022, the Court called this matter for a hearing and there was no appearance.

        The purpose of this proceeding is to assure that bankruptcy notices and orders are properly
delivered to parties-in-interest in bankruptcy cases in accordance with Bankruptcy Rule 9036. The
named entity was allowed to obviate the need for the hearing merely by complying with
Bankruptcy Rule 9036 and registering for electronic noticing. However, no statement of
compliance has been filed in this miscellaneous proceeding.

         The Court orders:

         1. A sanction for failure to appear is imposed against the above-referenced entity. The purpose
            of the sanction is to coerce compliance with Bankruptcy Rule 9036. The amount of the sanction
            is $100.00 per day. The first sanction will be imposed on January 3, 2023 and will be imposed
            daily (including weekends) until the above referenced entity complies with Bankruptcy Rule
            9036. The sanction is payable to the clerk of the Court.

         2. The above-referenced entity is ordered to comply with Bankruptcy Rule 9036.

         3. The sanctions imposed by this order will be waived if the above referenced entity files a notice
            of compliance on this proceeding’s docket sheet by December 31, 2022. Otherwise, the
            sanctions will continue to be imposed on a daily basis and will not be waivable.


          SIGNED 11/14/2022


                                                         ___________________________________
                                                                       Marvin Isgur
                                                              United States Bankruptcy Judge




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